Morningside Heights Legal Services, Inc.
435 West 116th Street, New York, NY 10027   ​
T 212 854 4291 F 212 854 3554



   April 8, 2025

   By ECF
   The Honorable Naomi Reice Buchwald
   United States District Judge
   Daniel Patrick Moynihan United States Courthouse
   500 Pearl Street
   New York, NY 10007-1312

                          Re: ​   Chung v. Trump, No. 25-cv-2412

   Dear Judge Buchwald:

           We respectfully move through this letter for leave to submit the attached amici curiae
   brief on behalf of more than 110 immigration lawyers, law professors, and scholars, in support of
   the petitioner’s motion for a temporary restraining order and/or preliminary injunction.1 The
   Plaintiff / Petitioner consents to this request. The Defendants / Respondents take no position on
   this request.

           Given that there is no applicable rule of civil procedure governing amicus curiae briefs,
   “[d]istrict courts have broad discretion to permit or deny an appearance as amicus curiae in a
   case.” In GLG Life Tech Corp. Securities Litigation, 287 F.R.D. 262, 265 (S.D.N.Y. 2012)
   (internal quotation marks omitted). “The usual rationale for amicus curiae submissions is that
   they are of aid to the court and offer insights not available from the parties.” Auto. Club of New
   York, Inc. v. Port Auth. of New York & New Jersey, No. 11 CIV. 6746 RJH, 2011 WL 5865296, at
   *1 (S.D.N.Y. Nov. 22, 2011).

           Here, the proposed amicus brief highlights the unprecedented nature of the government’s
   reliance on 8 U.S.C. 1227(a)(4)(C)(i) to deport a lawful permanent resident for political speech
   prior to March 2025, drawing on amici’s vast collective experience. Amici curiae are leading
   lawyers, law professors, and scholars who practice, write, research, and teach immigration law.

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    No party’s counsel authored this brief in whole or in part; no party or party’s counsel
   contributed money that was intended to fund preparing or submitting this brief; and no person
   other than the amicus curiae or its counsel contributed money that was intended to fund
   preparing or submitting this brief.
Amici collectively have many centuries of experience representing individuals at all stages of
their immigration proceedings and in federal court. Based on publicly available data from the
Executive Office of Immigration Review (EOIR) and published Board of Immigration Appeals
(BIA) decisions, out of 11.7 million cases, DHS has invoked INA § 241(a)(4)(C)(i) or INA §
237(a)(4)(C)(i) as a removal charge in only fifteen cases prior to March 2025. In just seven of
these fifteen cases, the foreign policy deportability ground was the only charge alleged
throughout the proceeding. Only four individuals ever were ultimately ordered removed or
deported after being charged with removability under this ground. That means, essentially one
person ordered removed per decade under this provision. What’s more, nearly all of these cases
arose in the distant past, shortly after the provision was enacted. Focusing on the last 25 years,
the EOIR data reflects that INA § 237(a)(4)(C) has been invoked only four times prior to March
2025, and only twice has it been the only charge alleged throughout the proceeding. In light of
this data, it may well be that Ms. Chung’s case is virtually unprecedented in the history of this
provision and in the history of the United States.

        Additionally, the brief elaborates on the arguments that Section 1227(a)(4)(C) is
unconstitutional. Specifically, the brief argues that this deportability ground is facially invalid
under the void-for-vagueness doctrine, deprives noncitizens of a meaningful opportunity to be
heard in violation of due process, and violates the First Amendment. Amici include scholars who
have written extensively about the void-for-vagueness doctrine and other due process issues in
the immigration context, as well as immigrants’ First Amendment rights. Amici have also
personally observed the chilling effects on their campuses following Ms. Chung’s arrest.

        Amici have a strong interest in the outcome of this case and their brief provides
non-duplicative insights into the foreign policy deportability ground and its use to arrest and
detain a permanent resident for political speech. Accordingly, on behalf of amici, undersigned
counsel respectfully request that this Court grant leave to file the attached proposed amicus
curiae brief in this matter.

                                      Respectfully submitted,

                                              /s/ Elora Mukherjee
                                              Elora Mukherjee
                                              Jerome L. Greene Clinical Professor of Law
                                              Columbia Law School
                                              Morningside Heights Legal Services, Inc.
                                              435 W. 116th Street, Room 831
                                              New York, NY 10027
                                              (212) 854-4291
                                              emukherjee@law.columbia.edu
                                              (in her individual capacity)​ ​     ​
                                             Fatma Marouf
                                             Professor of Law
                                             Texas A&M School of Law
                                             307 W. 7th St. Suite LL50
                                             Fort Worth, TX 76102
                                             (817) 212-4123
                                             fatma.marouf@law.tamu.edu
                                             (in her individual capacity)


                                             Amber Qureshi
                                             Law Office of Amber Qureshi, LLC
                                             6925 Oakland Mills Rd, PMB #207,
                                             Columbia, MD 21045
                                             (443) 583-4353
                                             amber@qureshilegal.com


                                             Ahilan T. Arulanantham (SBN 237841)
                                             Professor from Practice
                                             UCLA School of Law
                                             385 Charles E. Young Dr. East
                                             Los Angeles, CA 90095
                                             (310) 825-1029
                                             arulanantham@law.ucla.edu
                                             (in his individual capacity)

                                             Adam Cox
                                             Robert A. Kindler Professor of Law
                                             NYU School of Law
                                             40 Washington Sq. South
                                             New York, New York 10012
                                             212-992-8875
                                             adambcox@nyu.edu
                                             (in his individual capacity)

                                             Counsel for Amici Curiae2




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 The proposed amicus brief does not purport to present the institutional views of the schools
with which the preparers of this amicus brief are affiliated.
